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               UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF COLORADO


 October 3, 2023

 In re:                                              Bankruptcy Case No. 23-10809-JGR

 NORTH SHORE MANOR, INC.                             Chapter 11 (SubChapter V)

 Debtor(s).


 COLUMBINE MANAGEMENT SERVICES, INC.,

 Movant(s),
 v.

 NORTH SHORE MANOR, INC.

 Respondent(s).


                                              JUDGMENT

        This matter came before the Court on October 4, 2023, regarding Columbine Management Services,
Inc.'s Motion for Relief from Automatic Stay filed September 8, 2023 (Docket #315) and Debtor's Objection
thereto filed September 26, 2023 (Docket #327). The issues have been tried, heard and/or considered, and
a decision has been rendered. In accordance with the Order issued concurrently herewith,

      IT IS ORDERED AND ADJUDGED that the Motion for Relief from Automatic Stay filed by Movant,
Columbine Management Services, Inc., is hereby GRANTED.

     IT IS ORDERED AND ADJUDGED that judgment is entered in favor of MOVANT and against
DEBTOR.


                                                         FOR THE COURT:

                                                         Kenneth S. Gardner, Clerk


                                                         By: Kevin Cronan
                                                               Deputy Clerk
APPROVED AND ACCEPTED:


By:       ____________________
          Joseph G. Rosania, Jr.,
          U.S. Bankruptcy Judge
